  3:17-cv-01272-JMC                 Date Filed 05/17/17               Entry Number 1-3                    Page 1 of 5




STATE OF SOUTH CAROLINA                                    IN   THE COURT OF             COMMON            PLEAS


COUNTY OF RICHLAND                                                 FIFTH JUDICIAL CIRCUIT


Richard       Kline
                                                                                CaseNo
                                      Plaintiff

                                                                              COMPLAINT

                                                                                                                      03
                                                                        JuryTnaiRequested                 .R
Equitbx Information       Services   LLC                                                                  in

Trans Union    LLC     and Experian

Information Solutions       Inc


                                    Defendants




      Plaintiff      complaining of the Defendants        above-named         would show        this   Court


                                              JURISDICTION

      The    State   of Residence of Plaintiff    is   the State   of South Carolina County of Richland


      The Defendant        Equifax Information Services            LW   is    foreign    corporation with      its    principal



      place of business nerve center          and headquarters in the State of Georgia


      The Defendant Trans Union          LW      is    foreign   corporation    with    its   Principal   place of business


      nerve center and headquarters           in the State      of illinois


      The Defendant                   Information Solutions inc isa foreign corporation with                    its
                           perian                                                                                     principal



      place of business nerve center and headquarters                   in the State    of Texa


      This Court has jurisdiction        over the parties and subject          matter of this action           and venue      is




          propã based upon    the   non-residence      of the Defendants       herein
3:17-cv-01272-JMC                     Date Filed 05/17/17           Entry Number 1-3                   Page 2 of 5




                                           FACTUAL ALLEGA1IONS

     In   or   mound   Febniaiy of     2016 unbeknownst      to PWntifia         thief   used his identity to         make


     multiple fSudulit          purchases including         Dodge         Charger Hellcat which             purchased       in



     Dearborn Michigan and was financed through                   11     Auto Finance


     Defendants        Trans Union      and Experian provided          Plaintirs credit          information        to third



     parties     without      permissible purpose    in violation      of 15 u.s.c         161b            which enabled


     the   above purchse


     Later in February 2016 Plaintiff received            notices   in    the mail from Hartford           Insurance    and


     TD    Auto Finance concerning         the purchase of        Dodge vehicle

     Plaintiff     did not recognize    the transaction and had not purchased the vehicle


10                                                                                                    TI
                                                                                                            At
     Plaintiff     contacted    the   dealeitp    filed     police     report   and    notified                     Finance



     TDAP oft              fiaud completing       fraud affidavit         Plaintiff   did not   know       at      time that


     Defendants        were reporting the    TD   Auto Finance account and other fraudulent accounts


     including         Rooms to Go      charge account    opened     in   Atlanta also by       11 Bank           nthnct his

     credit


11   In or ironed AprIl26 2016 Plaintiff applied to co-sign for                   mortgage       to   allow his daughter


     to    bus     home

12 The         ipplication   was denied due    tot   multiple fraudulent negative               accounts        appearing   on


     hiscreditflle


13   Following the           denial   Pk01ff   obtained     his   credit    reports     from Defendants             Equifix


     Expeiian and TransUnion


14 Upon          receiving his reports lsniiff       discovered      multiple fraudulent          accounts including


     those described         above and multiple fraudulent inquiries and                sales   of    his credit report      to


     debt Colleciun and other parties for          Account Review purposes

15 Inor towid           October of 2016     pkniff   nwk     detailed       written disputes to Defendant              Credit
3:17-cv-01272-JMC                     Date Filed  05/17/17
                                            .tt-.-7
                                                              Entry Number 1-3                      Page 3 of 5
                                                        ctLnt.YT.ç




16   Despite recCipt of same Defendants              Equifax Experian and Trans Union              failed   and refused


     to   remove some èr      all    the fraudulent infonnation


17   DefeIdant       Credit Reporting        Agencies       actions   Violate    the   Fair Credit Repoting          Act

     incluing but not limited to iS u.s.c                16811 and compounded             the fiundulent     activities



     which the    Agmres            had helped to enable


18   Ma     direct   and        iniate result     of the foregoing    Plaintiff   has been    damaged



                                    FOR      FIRST CAUSE          OF AflION
                 AS   TO DEFENDANT CREDIT REPORTING AGENCIES

                                      Neg$g.atNonc.rnpllaneewlth.FCRA


19   Plaintiff   rea1lege and incorporates           the allegations contained         elsewhere   herein      the



     extent not inconsistent with the allegations of this Cause of Action


20   Defendants      prepared and furnished credit reports on Plaintiff that contain                 false



     hfornmtiotl

21   Plaintiff notified      Defendants     they were reporting false information disputedtlm


     informationandaskedDefendantatoconccit


22   Despite     those disputes       Defendants     continued to report false information


23 Upon      informatiork     and belief Defendants reporting            is at   present false and
                                                                                                   inco1TcL



24   Defendants       have   flegligen       violated the   FCRA including         but not limited to thet



     requizCments      in    15 U.S.C     168Th l6Sleand 1681L

25   Because of Defendants              failure   to comply with the requirements of          PCRA     Plaintiff



     Miffaud     and continues        to suffer actual   damages including economic loss              denial   of


     credit lost oppoit        nity to    receive credit damage to reputation            invasion of privacy


     emotional diatress and interference             with Plaintiffs    nonnal and usual activities for which


     Plaintiff    seeks damages in an amount to be determined by the jury


26   Plaintiff
                  requests attorneys fees nader 15           U.s.c     16810a
      3:17-cv-01272-JMC                 Date Filed 05/17/17             Entry Number 1-3             Page 4 of 5
                                                      4-           .-




                               FOR SECOND CAUSE OF ACTION
                        AS TO DEFENDANT CREDIT REPORTING AGENCIES


                                      WillfUl NoncomplianCe          with   FCRA
     27     Plaintiff reaiiageh    and incorporates the    allegations    contthned   elsewhere    herein     the


           extent not inconsistent with the allegations of this Cause of Action


     28     Defendanis    prepared and fUrnished credit reports on Plaintiff that contains            false



            information


     29     Plaintiff notified    Defbndants   of the reporting of false information disputed that


            inforniation and asked Defendants        to correct it      Despte those disputes Defendants


             onfiuedtozepafalseblfonnadolL


     30     Defenãantswillluilly violated the requiranents           of   FCRA

      31    Because ofDefenlants         Willful violations   of the    FCRA    PIsidiff   may    recover actual



            ruory       and         vedamages

      32    PlRintiff
                        requests tttomeys fees under 15       U.S.C        168lna


                                               PRAYER FORRLLJEF

            WHEREFORE             the prayer of the Plaintiff is foriudwnent in an amount sufficien to


                 Plaintiff    for actual damages with punitive          dsnsges               damages             interest
compensete                                                                        staftitoq
                                                                                                            mrc

as   is   allowable by    law   ca     attorneys fees and such other relief as is just and proper




                                                DAVE MAXFIEJSp%TTORNEY LLC



                                                       _______
                                                                   LL..._.____e
                                                By
                                                           David     Méfield Esq SC Bar No 7163
                                                           5217 N.Trenholm Road Suite

                                                           Columbia      SC 29206
                                                           803-509-6800
                                                           855-299-1656     fIx




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3:17-cv-01272-JMC              Date Filed 05/17/17          Entry Number 1-3           Page 5 of 5




STATE OF SOUTH          CAROLINA                     IN   THE COURT        COMMON       PLEAS


COUNT1Y OF RICILLAND                                 FIFTH JUDICIAL       CIRCUIT


Richard       KIMe


                                       Plaintiff     Case No.2017-CP-40-2340

                     Vs
                                                            CERTIFICATE OF SERVICE

Equifax Information Services          LLC
Trans Union   LLC    abdExperian
Information Solutions      Inc


                                     Defendants



  the undersigned      mp1oyee of Dave Maxfield Attorney                LLC    do hereby swear and



affirm that   on the    18th   day Of April 2017            served the   foregoing    Summons


Complaint by       seniing      copy of same by       U.S   Certified   Mail   Restricted   Delivery


Return Receipt Requested        to   the following




Equifax Information Services          LLC
do   Corporation Sei4ice       Company
1703 Laurel Street

Columbia South       Carolina 29201



Trans Union    LLC
do The    Prentice-Hall Corporation       System Inc
1703 Laurel Street

Columbia South       Carolina 29201



Experian Information Solutions Inc
do        CorporationSystem
  Office Park Court Suite 103

Columbia South       Carolina 29223




                                                                Bess
                                                          Jel

 DATED     April   18 2t17
 Columbia South      Carolina
